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                          EXHIBIT 4
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    1   prosecutor like, "I have no reason to believe that this guy

    2   is a hands-on abuser."       That's, that's the people that

    3   we're, you know, we're trying to go after.

    4               MR. SANDERS:    Yeah.

    5               SPECIAL AGENT FORD:       But I don't think that's

    6   you.

    7               MR. SANDERS:    Yeah.

    8               SPECIAL AGENT FORD:       Is that, is that you?

    9               MR. SANDERS:     No.

   10               SPECIAL AGENT FORD:       Okay.     All right, I just

   11   wanted to -- I don't want to --

   12               MR. SANDERS:    In fact, like, I mean I -- since

   13   you have that flash drive, I mean --

   14               SPECIAL AGENT FORD:       Yeah, I --

   15               MR. SANDERS:     -- I guess you're going to see

   16   what's on it.     The -- I'm just going to say like, I don't

   17   like some of things that are on there.

   18               SPECIAL AGENT FORD:       Okay.
   19               MR. SANDERS:    Some files that are on there, it's

   20   like, when I downloaded something it came in like a, like a

   21   package almost.

   22               SPECIAL AGENT FORD:       Mm-hmm.     Like a zip file?

   23               MR. SANDERS:    Yeah.

   24               SPECIAL AGENT FORD:       Got it.

   25               MR. SANDERS:    So there's some things there that


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    1   like, are really like, disgusting to me.

    2               SPECIAL AGENT FORD:       Yeah.

    3               MR. SANDERS:    I mean, all -- okay.

    4               SPECIAL AGENT OBIE:       Just speak.

    5               MR. SANDERS:    Some -- okay.        I don't want this to

    6   sound bad on the, on the recording.            But like, if someone's

    7   like, 16 or something, I mean, that's the age of consent in

    8   several states, like --

    9               SPECIAL AGENT FORD:       Mm-hmm.     It's still a kid,

   10   but go ahead.

   11               SPECIAL AGENT OBIE:       Just speak freely.

   12               SPECIAL AGENT FORD:       Yeah.

   13               SPECIAL AGENT OBIE:       Right?

   14               SPECIAL AGENT FORD:       Mm-hmm.

   15               MR. SANDERS:    You know, like in many states it

   16   would be legal to do something with -- not saying it's

   17   right or wrong --

   18               SPECIAL AGENT OBIE:       Right.
   19               MR. SANDERS:     -- I'm just saying like, that's

   20   very different to a degree in my mind than like --

   21               SPECIAL AGENT FORD:       Like tiny tots.

   22               MR. SANDERS:    Like a tiny -- yeah.

   23               SPECIAL AGENT FORD:       Yes.     Yeah.

   24               MR. SANDERS:    I think that, that like in some of

   25   those like, zip files, there may have been some like,


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    1   younger, so -- which I really don't like and --

    2               SPECIAL AGENT FORD:       Yeah.

    3               MR. SANDERS:     -- like don't want.          But it like,

    4   it's part of the zip files.

    5               SPECIAL AGENT FORD:       It's part of the, the --

    6   that's not what you were looking for, but it's part of the

    7   package.

    8               MR. SANDERS:    Exactly.

    9               SPECIAL AGENT FORD:       Makes sense.

   10               MR. SANDERS:    So it's like, not what I'd ever go

   11   after.

   12               SPECIAL AGENT FORD:       Got it.

   13               MR. SANDERS:    But like, it just came with it and

   14   like, wouldn't necessarily know it was part of that until

   15   it downloaded.

   16               SPECIAL AGENT OBIE:       So when you like, extracted

   17   the zip file --

   18               MR. SANDERS:    Mm-hmm.
   19               SPECIAL AGENT OBIE:       -- to get the actual -- get

   20   to the actual content, would you download that to your

   21   laptop and then put it to that -- your speed drive or what?

   22               MR. SANDERS:    Download and unzip.

   23               SPECIAL AGENT OBIE:       Like what, what -- where,

   24   where would the content go?        Would it be on this computer

   25   and then you put it in your --


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    1               MR. SANDERS:    For a little while it was on here.

    2               SPECIAL AGENT OBIE:       Okay.

    3               MR. SANDERS:    And then I wanted to kind of just

    4   be done with all of it --

    5               SPECIAL AGENT FORD:       Mm-hmm.

    6               MR. SANDERS:     -- after a while.        And then I just

    7   put it on a flash drive, moved it all onto there, wiped it

    8   off the computer, kind of deleted everything -- files.

    9   Sanitized the computer and --

   10               SPECIAL AGENT FORD:       Did you, did you go on Tor

   11   to get this -- the child porn?         Like it's kind of hard for

   12   me to believe that somebody stumbles upon this stuff on Tor

   13   because it's very -- I wouldn't say it's very

   14   sophisticated, but people go on Tor because they don't want

   15   to be found.

   16               MR. SANDERS:    Mm-hmm.

   17               SPECIAL AGENT FORD:       And, and I know -- and I

   18   know through years of doing this --
   19               MR. SANDERS:    Yeah.

   20               SPECIAL AGENT FORD:       -- that maybe in some

   21   groups, they're like, they'll say, "Hey, go to this site on

   22   Tor because it has fresh content," or "It has this."             It's

   23   -- it's very hard for me to believe -- and I want to

   24   believe you.

   25               MR. SANDERS:    Okay.


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    1               SPECIAL AGENT FORD:       But it's very hard for me to

    2   believe that you just stumbled upon this.

    3               SPECIAL AGENT OBIE:       Particularly because you

    4   said you previously got child porn on Kik.

    5               MR. SANDERS:    Yeah.     So like when I was younger,

    6   like I was sent something on, on Kik and like, saw things

    7   on Kik.    And then -- I don't want to use the word like

    8   interest, but like --

    9               SPECIAL AGENT FORD:       Curious?

   10               MR. SANDERS:     -- you know, so then I like went to

   11   Tor to like, look at it.

   12               SPECIAL AGENT FORD:       Mm-hmm.

   13               SPECIAL AGENT OBIE:       Okay.

   14               MR. SANDERS:    I mean, the first time I was on Tor

   15   I was just -- the very first time I was on Tor I was just

   16   like, looking just around Tor, like what Tor did.           Then

   17   like, a little later, I was like, you know, "Well I wonder

   18   if this is there?"      And kind -- and after I'd seen it, I
   19   kind of went, you know, looked at something.

   20               SPECIAL AGENT FORD:       Yeah.

   21               MR. SANDERS:    And then, you know, like generally

   22   stay off of it.     But like, every like, occasional so often,

   23   kind --

   24               SPECIAL AGENT FORD:       You'd go on there.

   25               MR. SANDERS:     -- of just like, see what is -- was


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    1   going on.

    2               SPECIAL AGENT FORD:       That's, that's fine.

    3               MR. SANDERS:    But like I don't --

    4               SPECIAL AGENT FORD:       Have you ever, have you ever

    5   uploaded anything to --

    6               MR. SANDERS:    Never.

    7               SPECIAL AGENT FORD:       So I know there's certain

    8   sites on Topic Links that you have to --

    9               SPECIAL AGENT OBIE:       You have to --

   10               SPECIAL AGENT FORD:       -- in order to get access to

   11   the group to the --

   12               MR. SANDERS:    Never.

   13               SPECIAL AGENT FORD:       -- closed content --

   14               MR. SANDERS:    I would never look -- I'd go -- if

   15   I click on one of those sites and I saw that, I'd be like,

   16   "No."   Because I never wanted this to happen.

   17               SPECIAL AGENT FORD:       Yeah, but why -- but before

   18   I, before I joined the FBI --
   19               MR. SANDERS:    Yeah.

   20               SPECIAL AGENT FORD:       -- I knew nothing about

   21   like, if I upload something this could happen.            So --

   22               MR. SANDERS:    Well because I saw like, on one of

   23   the sites, like, people were talking about like, I guess

   24   like, protecting your computer, whatever.

   25               SPECIAL AGENT FORD:       Mm-hmm.


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    1               MR. SANDERS:    I don't -- I didn't really do

    2   anything, but I guess -- you know, I just didn't want to

    3   upload anything, because it's like, I didn't want to be

    4   part of it, but like I was curious to see some of it.

    5               SPECIAL AGENT FORD:       Mm-hmm, mm-hmm.     So --

    6               MR. SANDERS:     So like, anything I had, you know,

    7   I, you know, might like, look at.          But I'd never --

    8               SPECIAL AGENT FORD:       So you --

    9               MR. SANDERS:     -- I had never sent anything to

   10   anyone.

   11               SPECIAL AGENT FORD:       Okay.

   12               MR. SANDERS:    I've never --

   13               SPECIAL AGENT FORD:       So I, I can --

   14               MR. SANDERS:     -- uploaded anything.

   15               SPECIAL AGENT FORD:       -- I can go on your phone

   16   and I can look at everything and I would never see not one

   17   instance of you --

   18               MR. SANDERS:    You can look at every message I
   19   have sent to every person and you will never see me send --

   20               SPECIAL AGENT FORD:       Okay.

   21               MR. SANDERS:     -- absolutely anything.

   22               SPECIAL AGENT OBIE:       Is that because you cleared

   23   it and you wiped it --

   24               MR. SANDERS:    No.

   25               SPECIAL AGENT OBIE:       -- and you were --


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